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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JESSICA VASIL and CHRISTINE FARAG,                   )
 individually and on behalf of a class of             )
 similarly situated individuals,                      )
                                                      )
                        Plaintiffs,                   )       No. 16-cv-9937
                                                      )
                v.                                    )       Hon.
                                                      )
 KIIP, INC., a Delaware corporation,                  )
                                                      )
                        Defendant.                    )
                                                      )
                                                      )
                                                      )

                                CLASS ACTION COMPLAINT

       Plaintiffs, Jessica Vasil and Christine Farag, bring this Class Action Complaint against

Defendant, Kiip, Inc. (“Kiip” or “Defendant”), for secretly tracking cellphone users’ private

information without those users’ consent. Plaintiffs allege as follows based on personal knowledge

as to themselves and their own acts and experiences, and as to all other matters, upon information

and belief, including an investigation by their attorneys.

                                  NATURE OF THE ACTION

       1.      Defendant Kiip is a mobile marketing company that displays advertisements on

mobile devices through mobile applications, or “apps,” installed on individuals’ smartphones,

including iPhones and Android devices. Reportedly reaching over 100 million consumers across a

network of more than 5,000 apps, Defendant’s advertising platform utilizes proprietary marketing

technology to integrate with smart phone apps and seamlessly deliver ads to consumers.

       2.      Defendant created its advertising platform to allow app developers to monetize their

apps through a wide variety of third-party advertisements that Defendant displays to the consumers



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while they use such apps. Because Defendant’s marketing platform integrates with the software of

smart phone applications, Defendant gathers extensive information about consumers through their

use of their cellphones, including personally sensitive information such as health statistics,

purchasing activities, dietary profiles, and productivity goals, among other information.

       3.      Defendant uses the information it collects to custom-tailor ads to specific groups of

app users located throughout the country, including ads on behalf of clients such as Coca-Cola,

Marriott, and Home Depot.

       4.      However, in or about 2014, Defendant undertook a misguided effort to secretly

extract information about smartphone users without their consent. Indeed, as part of an attempt to

improve its marketing capabilities and tailor ads to consumers, Defendant began accessing

consumers’ personal information by tracking and intercepting millions of users’ electronic

communications without their knowledge or consent—even while those individuals’ mobile

devices were not in use.

       5.      Not only did Defendant fail to inform consumers about its invasive monitoring

activities, Defendant also kept its app developer partners in the dark about its unseemly and illegal

conduct. Indeed, one such developer, Fitnesskeeper, Inc. (“Fitnesskeeper”), which operates the

popular fitness app Runkeeper, terminated its relationship with Defendant and issued a public

apology upon learning that Defendant was snooping on Runkeeper users by extracting their

personal information and intercepting their electronic communications.1

       6.      The data that Defendant collected from individuals’ mobile devices without those

individuals’ consent included consumers’ personally identifying information, their current



1
 Jason Jacobs, A Message to Our Users, Runkeeper Blog, http://blog.runkeeper.com/4714/a-message-to-
our-users/ (last visited Oct. 12, 2016).



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geographic location, and their individual cellphone device identifiers. Although this data was

valuable to Defendant’s marketing business, Defendant’s conduct invaded consumers’ privacy and

violated consumers’ statutory and privacy rights, resulting in actual, concrete harm to millions of

individuals throughout the country.

       7.      In addition to violating consumers’ privacy rights, Defendant’s conduct violated

federal and state law, including the Federal Wiretap Act, 18 U.S.C. § 2510, et seq., and the Illinois

Eavesdropping Statute, 720 ILCS 5/14-1, et seq.

       8.      Accordingly, in order to redress these injuries, Plaintiffs bring this suit on their own

behalf and on behalf of a nationwide class of similarly situated individuals, seeking an award of

actual and statutory damages; injunctive relief prohibiting Defendant from monitoring, collecting,

and transmitting consumers’ information without their consent; equitable relief, including the

disgorgement of any profits that Defendant derived from ill-gotten information; punitive damages;

and reasonable attorneys’ fees.

                                             PARTIES

       9.      Plaintiff Vasil is a natural person and a citizen of the state of Illinois.

       10.     Plaintiff Farag is a natural person and a citizen of the state of Illinois.

       11.     Defendant Kiip is a Delaware corporation with its principal place of business in

San Francisco, California. Kiip is registered to do business in Illinois where it maintains offices,

and it conducts business in this District and elsewhere throughout the United States.

                                  JURISDICTION AND VENUE

       12.     This Court has subject matter jurisdiction over Plaintiffs’ Federal Wiretap Act

claims pursuant to 28 U.S.C. § 1331, because those claims arise under federal law. The Court may

assert supplemental jurisdiction over Plaintiffs’ state law claims pursuant to § 1367, because those




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claims share a common nucleus of operative fact with Plaintiffs’ Federal Wiretap Act claims, such

that they form part of the same case or controversy under Article III of the United States

Constitution.

       13.        The Court also has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(d), because this is a class action in which the matter in controversy exceeds the sum or

value of $5,000,000, exclusive of interest and costs; there are greater than 100 putative class

members; and at least one putative class member is a citizen of a state other than Defendant’s states

of citizenship.

       14.        This Court may assert personal jurisdiction over Defendant, because Defendant is

registered to do business in Illinois and does business in this District, and because Defendant

committed certain acts in this District that have given rise to the claims at issue in this case, as

Defendant extracted personal data from Plaintiffs’ cellphone communications while Plaintiffs and

their phones were present in this District.

       15.        Venue is proper in this District pursuant to 28 U.S.C. 1391(b), because Defendant

resides in this District; Defendant conducts business in this District and maintains an office in this

District; and because a substantial part of the events concerning the conduct at issue occurred in

this District, as Defendant intercepted Plaintiffs’ electronic communications while Plaintiffs and

their cellphones were present in this District.

                         ALLEGATIONS COMMON TO ALL COUNTS

Background on Mobile Advertising

       16.        Software applications on mobile devices have created new challenges to consumer

privacy. Many apps collect vast amounts of personal data and use intelligent tracking technologies

to record user information, including individuals’ interests, preferences, location, and health,




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among many other subjects.

        17.      Apps and their integrated technology also frequently track individuals’ usage

behavior, such as the length and frequency of an individual’s use of an app, which allows

companies to connect usage information with a specific customer account to build a profile of an

individual user.

        18.      App users are often unaware of the threats to their privacy rights, because apps and

the companies that develop them often fail to fully disclose the types and extent of data collected.

Nonetheless, this data is extremely valuable—not just to businesses, but also to advertising

companies such as Defendant.

        19.      Although mobile app companies collect user information, in many cases user data

is also gathered by third-party software or technology integrated into a mobile app. When a

consumer downloads, installs, and uses a mobile app on a smart phone, she usually does not know

whether the app contains third-party technology that will collect or receive information about the

user and her use of the app. Rarely, if ever, are consumers’ informed of the actual identity of such

third-parties.

Third-Party Tracking

        20.      Defendant provides a type of mobile advertising technology commonly referred to

as a “third-party tracker.” Third-party trackers like Defendant’s monitor and record information

about smartphone users, including how they use their smartphone and what their usage patterns

are. They also collect more personal information, such as behavior patterns, interests, and data

about the user’s particular device.

        21.      A third-party tracker is not by itself a software app. Rather it is integrated into an

existing mobile application. Once integrated, the third-party tracker can passively receive and




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actively extract data through the app, which is then sent to the tracker’s advertising servers and is

capable of being used to display ads to the app’s user. (See Figure 1, below).




(Figure 1)

       22.     Defendant and other third-party trackers use the information they collect to deliver

advertisements and promotional offers based on user preferences, demographics, and geographic

location, among other characteristics, and they often sell the information they collect to other

companies. By design, third-party trackers, including Defendant’s, gather extensive information

in order to customize ads based on user preferences, behavior, and demographics, and they

monetize aggregate user information by selling it to other third-parties.

       23.     Defendant’s advertisements promote large corporate brands, and they are typically

marketed to consumers as “rewards” within a mobile app when it is in use. Defendant ordinarily

receives payment from such brands whenever an app user accepts or redeems such a “reward,”

which money Defendant then shares with the developer of the app in which the ad appeared.




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Defendant’s Integration with the Runkeeper App

       24.      At least as early as August 2014, Defendant partnered with Fitnesskeeper, the

developer of the Runkeeper mobile app.

       25.      Runkeeper is a popular fitness app with nearly 50 million users worldwide. Users

initially must download the app to their smartphone or other mobile device. Once downloaded, the

Runkeeper app allows its users to utilize their smartphones’ geo-location capabilities to track how

far and how fast they run during a workout. Runkeeper also allows users to save the routes they

run and their best times on those routes in order to set goals for future runs or share their times

with friends.

       26.      Based on a user’s recorded runs and use of the Runkeeper app, the app provides the

user with challenges and suggested workouts, tailored to the user in accordance with information

gathered through the app.

       27.      Many of Runkeeper’s functions rely heavily on the user’s smartphone’s geo-

location tracking, as well as the user’s health and fitness information gathered through the app.

       28.      On August 14, 2014, Defendant publicly announced that it had partnered with

Runkeeper to deliver advertisements within the Runkeeper app.2 Defendant’s ads contained offers

and promotions for various products, and were designed to appear at the moment a user completed

a challenge or beat their best run time, so as to make the user feel as though they were being

rewarded. (See, e.g., Figure 2, below).




2
   Brittany Fleit, Runkeeper & Kiip Partner to Reward 34 Million Users, Kiip Blog,
http://blog.kiip.me/advertising/runkeeper-kiip-partner/ (last visited Oct. 12, 2016).


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(Figure 2)

           29.    Defendant has described its integration with Runkeeper as follows:

           [A]fter logging a workout and hitting various milestones (e.g., achieving a best new
           pace), users will be rewarded serendipitously. Rewards are fitness-related products.
           . . . “Runkeeper leverages Kiip’s technology to give users the extra motivation to
           run faster or go the extra mile. By enabling brands to own millions of point-of-
           sweat moments, Kiip adds value to people’s daily fitness routines through natural
           rewards.”3

Defendant’s Advertising Platform Secretly Collects Users’ Personal Data

           30.    As with the Runkeeper app, Defendant’s technology is designed to recognize when

app users complete a milestone or reach an achievement within the app, and seize on that

opportunity to deliver a promotion or offer on behalf of one of Defendant’s clients.

           31.    Thus, by design, the defining feature of Defendant’s marketing platform is its




3
    Id.


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ability to monitor events in the lives of app users in real-time and detect when there will be a

marketing opportunity for one of Defendant’s clients. To determine when such an event has

occurred and to deliver effective ads, Defendant partners with app developers like Fitnesskeeper

to obtain continuous access to consumers’ information and app usage activity.

       32.     The ads that Defendant shows to app users are not random. Defendant custom-

tailors rewards and matches its clients’ ads with certain app users based on its clients’ target

audience and desired demographics.

       33.     In order to determine whether its clients’ products will appeal to certain app users,

Defendant secretly collects and monitors users’ personal information.

       34.     For instance, through the Runkeeper app, Defendant extracted app users’ current

geographic locations and cellphone device identifiers and had access to other personal

information—even when the app was not in use and, more importantly, when users were not even

using their respective phones. However, Defendant failed to obtain users’ consent to do so.

       35.     Defendant designed and programmed its technology to covertly monitor app users

without their consent and without the consent of its app partners in an effort to gain further

marketing information about such users. Such activity involved intercepting the contents of

consumers’ electronic communications between them and their cellular service providers and

between users and app developers, such as Fitnesskeeper.

       36.     Defendant also designed and programmed its marketing platform to integrate the

information it obtained through covert means with the information it obtained overtly through its

partnerships with app developers, like Fitnesskeeper, in order to build consumer marketing

profiles. Defendant’s marketing platform then transmitted the contents of the unauthorized user

information to its servers for its own use.




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       37.     Defendant never obtained consent from any Runkeeper users before intercepting,

monitoring, collecting, and transmitting their personal information. To the contrary, Defendant

concealed its actual data collection policies from the public and its business partner apps, including

Runkeeper, knowing that consumers would resist disclosing personal information when not using

an app and when their phones are not in use.

Government Inquiry Finds that Defendant's Technology Raises Privacy Concerns

       38.     On May 10, 2016, the Norwegian Consumer Council—a Norwegian government

agency and consumer protection organization—filed a complaint regarding Defendant and

Runkeeper with the Norwegian Data Protection Authority.

       39.     The complaint was based on a study of privacy risks in mobile apps performed by

SINTEF, an independent scientific and industrial research organization.4 For the study, SINTEF

analyzed 21 different popular mobile apps for smartphones to determine what personal information

those apps were collecting and revealing about their users.

       40.     Among the 21 mobile apps, the study focused on Runkeeper and a number of other

fitness and sports apps due to the “vulnerability in fitness and sports apps as they often contain

health-related data.”5 Specifically, the Norwegian Consumer Council determined that Runkeeper

“generates extensive personal data, such as location in combination with time as well as

information about the user’s physical fitness, health and training habits.”6

       41.     SINTEF’s study further found that much of this information is obtained by



4
  Antoine Pultier et al., SINTEF, Privacy in Mobile Apps: Measuring Privacy Risks in Mobile Apps (2016),
available at http://www.academia.edu/22037218/Privacy_in_Mobile_Apps_Measuring_Privacy_Risks_in
_Mobile_Apps.
5
  Id. at 12.
6
  Norwegian Consumer Council, Complaint Concerning the Mobile App Runkeeper 3 (2016), available at
http://fbrno.climg.no/wp-content/uploads/2016/05/2016-05-10-Complaint-runkeeper-ENG.pdf
(hereinafter “Consumer Council Complaint”).


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Defendant and similar third-party trackers, who “have access to important information about the

phone and its user, such as the device identifier.”7

           42.     A device identifier is a serial-like identifier for a particular cellphone. Tracking

companies such as Defendant use these device identifiers for marketing purposes. The use of these

identifiers poses a greater risk than tracking technologies typically used on PC web browsers,

because the numbers are difficult or impossible to delete and can be tied to other personal data.

           43.     Most importantly, however, the SINTEF study found that the Runkeeper

application, when integrated with Defendant’s technology, “tracks the [user’s] GPS position even

when the phone is not in use.” As a result, “The users can [] be geo-tracked whenever the

[smartphone’s] GPS function is turned on.”

           44.     This finding resulted from the testers’ “48 hour analysis.” For this phase of the

testing, the testers installed Runkeeper on a smartphone and monitored the phone for 48 hours

without ever actually using it. During this period, the testers did not unlock the phone’s screen,

meaning that the phone was idle and its screen was black. Even though the cellphone tested was

not in use over the entire 48-hour period, the testers found that Defendant repeatedly collected

information through the Runkeeper app.

           45.     Based on its finding that “the [Runkeeper] app collects location data and other

personal information when the mobile phone and app are not in use,” the Norwegian Consumer

Council found it problematic that “this personal data is transferred to a third party [Kiip] when the

app is not in use.”

           46.     Defendant failed to obtain consent from the consumers whose information it

collected. Because users were entirely unaware that their data was being extracted and transferred



7
    Pultier, supra note 4, at 13.


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from their smartphone communications when the Runkeeper app was not in use—and even when

the phone was not in use—there was a complete “lack of consent regarding the collection and

sharing of location data . . . .”8

Fitnesskeeper Ends its Relationship with Defendant and Apologizes to Consumers

        47.     Shortly after the Norwegian Consumer Council observed in its complaint that “we

cannot see that the app at any point – in the app itself, in the terms of use, privacy policy or on its

website – makes the user aware that location or other personal data is collected when the mobile

phone is not in use or when the user is not involved in a training session, nor that this data is

forwarded to a third party [i.e., Defendant],”9 Fitnesskeeper terminated its relationship with

Defendant’s advertising service and formally apologized to consumers for Defendant’s untoward

conduct.

        48.     On May 17, 2016, the founder and CEO of Runkeeper, Jason Jacobs, issued a

written, public apology in response to the Norwegian Consumer Council’s complaint and the

SINTEF study.10 His apology, posted on the Runkeeper website, refers to Defendant and states

that users’ location data was unexpectedly being extracted from consumers’ cellphones and

received by Defendant. Jacobs further stated that Runkeeper had decided to remove Kiip’s

technology from its app going forward.

Allegations Specific to Plaintiffs

        49.     Plaintiffs downloaded and used the Runkeeper app on their smartphones while

Defendant’s third-party tracker was integrated with the app.

        50.     During their use of the Runkeeper app, Plaintiffs’ cellphones communicated with


8
  Consumer Council Complaint at 3.
9
  Id. at 4.
10
   Jason Jacobs, A Message to Our Users, Runkeeper Blog, http://blog.runkeeper.com/4714/a-message-to-
our-users/ (last visited Oct. 12, 2016).


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their cellular service providers and the Fitnesskeeper servers, providing their geo-location

information and device identifiers to Runkeeper along with other personal information about

themselves.

       51.     Defendant intercepted, collected, and received the personal information Plaintiffs

provided through the Runkeeper app and stored it on their servers. However, Plaintiffs were

unaware that Defendant’s third-party tracker was integrated with the Runkeeper app and that it

was intercepting their communications and collecting their information.

       52.     Plaintiffs were also unaware that Defendant’s third-party tracker was intercepting

their phones’ electronic communications and collecting their personal information, including their

geo-location and device identifiers, while they were not using the Runkeeper app, and even when

they were not using their respective cellphones, because Defendant never informed them as such.

       53.     Plaintiffs never provided consent to Defendant to monitor, intercept, collect, and

transmit their personal information while they were not using the Runkeeper app, and especially

not when they were not using their respective cellphones.

       54.     Plaintiffs would never have downloaded or used Runkeeper had they known that

Defendant would monitor, intercept, collect, and transmit their information when they were not

using the Runkeeper app, and even while their respective cellphones were not in use.

                                   CLASS ALLEGATIONS

       55.     Plaintiffs bring this action on their own behalf and on behalf of a nationwide class

(the “Class”) with a statewide subclass (the “Subclass”) defined as follows:

               The Class: All people in the United States and its territories who used
               Runkeeper® on a mobile device during the applicable limitations period.

               The Subclass: All people who used Runkeeper® on a mobile device while
               in Illinois during the applicable limitations period.




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       56.     Excluded from the Class and Subclass are any members of the judiciary assigned

to preside over this matter; any officer, director, or employee of Defendant; and any immediate

family member of such officer, director, or employee.

       57.     Upon information and belief, there are hundreds of thousands, if not millions, of

members of the Class and Subclass, making the members of the Class and Subclass so numerous

that joinder of all members is impracticable. Although the exact number of Class and Subclass

members is unavailable to Plaintiffs, the members of the Class and Subclass can be easily identified

through Defendant’s records and/or Defendant’s partners’ records.

       58.     Plaintiffs’ claims are typical of the claims of the members of the Class and Subclass

they seek to represent, because the factual and legal bases of Defendant’s liability to Plaintiffs and

the other members of the Class and Subclass are the same, and because Defendant’s conduct has

resulted in similar injuries to Plaintiffs and to all of the other members of the Class and Subclass.

As alleged herein, Plaintiffs and the other members of the Class and Subclass they seek to represent

have all suffered harm and an invasion of privacy as a result of Defendants’ unlawful and wrongful

conduct.

       59.     There are many questions of law and fact common to the claims of Plaintiffs and

the other members of the Class and Subclass, and those questions predominate over any questions

that may affect individual members of the Class and Subclass. Common questions for the Class

and Subclass members include, but are not limited to, the following:

               (a)     Whether Defendant failed to obtain the Class and Subclass members’

                       consent to intercept and extract personal information, including their

                       location data, while the Runkeeper app was not in use on their respective

                       mobile devices, including while their respective mobile devices were not in




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                       use;

               (b)     Whether Defendant’s conduct violated the Federal Wiretap Act;

               (c)     Whether Defendant’s conduct violated the Illinois Eavesdropping Statute;

               (d)     Whether Defendant was unjustly enriched by receipt of the Class and

                       Subclass members’ data.

       60.     Absent a class action, most members of the Class and Subclass would find the cost

of litigating their claims to be prohibitive, and would have no effective remedy. The class treatment

of common questions of law and fact is superior to multiple individual actions or piecemeal

litigation in that it conserves the resources of the courts and the litigants, and promotes consistency

and efficiency of adjudication.

       61.     Plaintiffs will fairly and adequately represent and protect the interests of the other

members of the Class and Subclass they seek to represent. Plaintiffs have retained counsel with

substantial experience in prosecuting complex litigation and class actions. Plaintiffs and their

counsel are committed to vigorously prosecuting this action on behalf of the other members of the

Class and Subclass and have the financial resources to do so. Neither of the Plaintiffs nor their

counsel has any interest adverse to those of the other Class and Subclass members.

       62.     Defendant has acted and failed to act on grounds generally applicable to the

Plaintiffs and the other members of the Class and Subclass, requiring the Court’s imposition of

uniform relief to ensure compatible standards of conduct toward the members of the Class and

Subclass and making injunctive or corresponding declaratory relief appropriate for the Class and

Subclass as a whole.




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                                             COUNT I
                 Violation of the Federal Wiretap Act (18 U.S.C. § 2510, et seq.)
                on behalf of Plaintiffs and the members of the Class and Subclass

       63.      Plaintiffs incorporate by reference all of the foregoing allegations as if fully set

forth herein.

       64.      The Federal Wiretap Act generally prohibits any person from intentionally

intercepting or endeavoring to intercept any “wire, oral, or electronic communications.” 18 U.S.C.

§ 2511(1).

       65.      The cellphones of Plaintiffs and the Class and Subclass members transmitted data

and information to Fitnesskeeper and their cellular service providers through the use of the

Runkeeper app, constituting “electronic communications” under § 2510(12) of the Federal Wiretap

Act. Defendant was not a party to these communications.

       66.      By designing and programming its software to contemporaneously monitor,

intercept, and transmit the contents of electronic communications that Plaintiffs’ and the other

Class and Subclass members’ mobile devices sent to Fitnesskeeper and their respective cellular

service providers, including communications containing their individual geo-location data and

device identifiers, Defendant intentionally and knowingly intercepted and/or endeavored to

intercept the contents of electronic communications in violation of § 2511(1)(a).

       67.      Further, by automatically and contemporaneously transmitting Plaintiffs’ and the

Class and Subclass members’ information to its servers and using that information to display

advertisements, Defendant intentionally and knowingly used or endeavored to use the contents of

such electronic communications while knowing or having reason to know that the data was

obtained through the interception of an electronic communication in violation of § 2511(1)(d).

       68.      Neither Plaintiffs nor the Class and Subclass members consented to Defendant’s




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interception or use of the contents of their electronic communications. Nor could they have

consented—Defendant never sought to obtain Plaintiffs’ consent nor that of the other Class and

Subclass members, and each unlawful interception occurred without their knowledge and while

they were not using the Runkeeper app, including while they were not even using their respective

mobile devices.

       69.      Plaintiffs and the other members of the Class and Subclass have suffered an

invasion of privacy along with actual, concrete harm as a result of Defendant’s violations of the

Wiretap Act.

       70.      Due to Defendant’s unlawful conduct, Plaintiffs and the other Class and Subclass

members are entitled to an award of actual or statutory damages, whichever is greater, pursuant to

§ 2520(c)(2); such preliminary and other equitable or declaratory relief as the Court deems

appropriate pursuant to § 2520(b)(1); an award of punitive damages pursuant to § 2520(b)(2); and

an award of reasonable attorneys’ fees and other costs pursuant to § 2520(b)(3).

                                           COUNT II
          Violation of the Illinois Eavesdropping Statute (720 ILCS 5/14-1, et seq.)
                   on behalf of Plaintiffs and the members of the Subclass

       71.      Plaintiffs incorporate by reference all of the foregoing allegations as if fully set

forth herein.

       72.      A person violates the Illinois Eavesdropping Statute where he or she “knowingly

and intentionally . . . [i]ntercepts, records, or transcribes, in a surreptitious manner, any private

electronic communication to which he or she is not a party unless he or she does so with the consent

of all parties to the private electronic communication . . . .” 720 ILCS 5/14-2(a).

       73.      The Illinois Eavesdropping Statute broadly defines “private electronic

communication” to mean “any transfer of signs, signals, writing, images, sounds, data, or




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intelligence of any nature transmitted in whole or part by a wire, radio, pager, computer,

electromagnetic, photo electronic or photo optical system, when the sending or receiving party

intends the electronic communication to be private under circumstances reasonably justifying that

expectation.” 720 ILCS 5/14-1(e).

        74.     The mobile devices of Plaintiffs and the other Subclass members transmitted data

and information to Fitnesskeeper and their cellular service providers through the use of the

Runkeeper app, constituting “electronic communications” under Section 14-2(a) of the Illinois

Eavesdropping Statute.

        75.     By designing and programming its third-party tracker to contemporaneously

monitor, intercept, record, and transfer the contents of electronic communications sent by the

mobile devices of Plaintiffs and the other Subclass members, including their geo-location data and

individual device identifiers, Defendant intentionally and knowingly intercepted and recorded

“private electronic communications” in violation of Section 14-2 of the Illinois Eavesdropping

Statute.

        76.     Plaintiff and the other Subclass members intended and believed that the information

they provided through the Runkeeper app would be private. Indeed, their usage information reveals

sensitive details about their health and fitness levels; their geo-location information can be used to

determine where they are physically present at any given time; and their device identifiers can be

used to trace electronic communications to their respective mobile devices to determine their

individual identities.

        77.     Plaintiffs and the other Subclass members expected that such information would

remain private and/or would not be transmitted to an unknown third-party entity like Defendant

while they were not using the Runkeeper app, and especially when they were not even using their




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mobile devices. Plaintiffs and the other Subclass members reasonably expected that such

information would not be used or collected by unknown third-parties in ways that exceeded the

scope of their consent.

       78.      Defendant failed to notify or inform Plaintiffs and the other Subclass members that

it was monitoring and intercepting their information and geo-location data while they were not

using the Runkeeper app and while their mobile devices were inactive. Therefore, there was no

reason for them to believe that anyone was accessing or intercepting their private electronic

communications during times when they were not using the app or even using their mobile devices.

       79.      Neither of the Plaintiffs nor any of the other members of the Subclass consented to

Defendant’s interception or use of their private electronic communications. Nor could they have

consented—Defendant never sought to obtain consent from Plaintiffs or the other Subclass

members, and each unlawful interception occurred without their knowledge and while they were

not using the Runkeeper app, including while they were not even using their respective mobile

devices.

       80.      Due to Defendant’s unlawful conduct, Plaintiffs and the other Subclass members

are entitled to an award of actual damages pursuant to § 14-6(b); injunctive relief as the Court

deems appropriate pursuant to § 14-6(a); and an award of punitive damages pursuant to § 14-6(c).

                                            COUNT III
                                         Unjust Enrichment
                on behalf of Plaintiffs and the members of the Class and Subclass

       81.      Plaintiffs incorporate by reference all of the foregoing allegations as if fully set

forth herein.




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       82.     As explained above, Defendant monitored, collected, received, and transmitted the

usage data and geo-location information of Plaintiffs’ and the other members of the Class and

Subclass without their knowledge or consent.

       83.     To the extent that Defendant collected or received Plaintiffs’ and the other Class

and Subclass members’ personal information and geo-location data, Defendant has retained a

benefit to the detriment of Plaintiffs and the other Class and Subclass members. This benefit is

measurable by the monetary value of the Plaintiffs’ and the other Class and Subclass members’

information. Defendant appreciates or has knowledge of such benefit.

       84.     Further, to the extent that Defendant received advertising revenue as a result of

information obtained improperly from Plaintiffs and the other members of the Class and Subclass,

and/or to the extent that Defendant transmitted or sold Plaintiffs’ and the other Class and Subclass

members’ information and geo-location data, in whole or in part, to a third-party, Defendant has

retained a benefit to the detriment of Plaintiffs and the other Class and Subclass members.

Defendant appreciates or has knowledge of such benefit, which is measurable by the revenue

Defendant received.

       85.     Because Plaintiffs and the other Class and Subclass members would never have

downloaded and used the Runkeeper app had they known that such information would be

improperly collected by third-parties like Defendant who were unauthorized to gather such

information, Defendant has unjustly received and retained a benefit as a result of its conduct.

       86.     As explained above, Defendant was not authorized and did not have consent to

collect this information, and Defendant’s retention of this benefit violates fundamental principles

of justice, equity, and good conscience.




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       87.    Defendant has been enriched, and it would be unjust to allow Defendant to retain

the enrichment.

       88.    Plaintiffs are therefore entitled to an award of damages in the amount by which

Defendant was unjustly enriched and an order requiring Defendant to disgorge any benefit it has

retained.

       WHEREFORE, Plaintiffs, on their own behalf and on behalf of the other Class and

Subclass members, pray for the following relief:

       A.     an order certifying the proposed Class and Subclass as defined above and

              appointing Plaintiffs as the class representatives;

       B.     an award of statutory damages under Count I;

       C.     an award of actual damages under Counts I and II in an amount to be determined at

              trial;

       D.     disgorgement or restitution under Count III in an amount to be determined at trial;

       E.     such preliminary and other equitable or declaratory relief as the Court deems

              appropriate under Count I;

       F.     injunctive relief under Count II;

       G.     an award of punitive damages under Counts I and II;

       H.     an award of reasonable attorneys’ fees and other costs under Count I; and

       I.     such other and further relief as the Court deems reasonable and just.

                                          JURY DEMAND

                  Plaintiffs request a trial by jury of all claims that can be so tried.

Dated: October 21, 2016                                    Respectfully submitted,

                                                           JESSICA VASIL and CHRISTINE
                                                           FARAG, individually and on behalf of a



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                                            class of similarly situated individuals

                                            By: /s/ Paul T. Geske
                                            One of Plaintiffs’ Attorneys

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